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                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


  VIDEO GAMING TECHNOLOGIES, INC.,                        )
                                                          )
                                                          )
                   Plaintiff,                             )
                                                          )
  v.                                                      )   Case No. 4:17-cv-00454-GKF-JFJ
                                                          )
  CASTLE HILL STUDIOS LLC                                 )
  (d/b/a CASTLE HILL GAMING);                             )
  CASTLE HILL HOLDING LLC                                 )
  (d/b/a CASTLE HILL GAMING); and                         )
  IRONWORKS DEVELOPMENT, LLC                              )
  (d/b/a CASTLE HILL GAMING)                              )
                                                          )
                   Defendants.                            )

                        ORDER GRANTING PLAINTIFF’S MOTION TO SEAL

              Before the Court is Plaintiff’s Motion to Seal (Dkt. # 67). Being fully advised, the

       Motion is hereby GRANTED. Pursuant to Local Rule 79.1, General Order In Re The Use of

       Confidential Information In Civil Cases, Plaintiff’s Unredacted Response to Defendants’ Motion

       to Extend Scheduling Order Deadlines (Dkts. ## 66, 66-4) shall remain under seal.

              IT IS SO ORDERED this 12th day of March, 2018.




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